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 8 Attorneys for Defendant
   Cox Communications
 9
                                    UNITED STATES DISTRICT COURT
10

11                                       DISTRICT OF NEVADA

12
     LETICIA RODRIGUEZ,                                    Case No. 2:21-CV-01407-JCM-BNW
13
               Plaintiff,          STIPULATION AND [PROPOSED]
14
                                   ORDER EXTENDING TIME FOR COX
15   vs.                           COMMUNICATIONS TO RESPOND TO
                                   PLAINTIFF’S COMPLAINT FOR
16   NATIONAL CONSUMER TELECOM & DAMAGES PURSUANT TO THE FAIR
     UTILITIES EXCHANGE, INC., COX CREDIT REPORTING ACT, 15 U.S.C. §
17   COMMUNICATIONS,               1681 ET SEQ.
18
                                                           (FOURTH REQUEST)
19                    Defendants.

20         Defendant Cox Communications (“Cox”), by and through its attorneys, Dickinson Wright
21 PLLC, and Plaintiff Leticia Rodriguez (“Plaintiff”), by and through her attorneys, Krieger Law

22 Group, LLC, stipulate and agree as follows:

23        1.          Plaintiff filed her Complaint for Damages Pursuant to the Fair Credit Reporting
24 Act, 15 U.S.C. § 1681, et seq. (First Request), on July 28, 2021 (the “Complaint”).

25         2.         Plaintiff served Cox on July 30, 2021.
26         3.         Pursuant to the Stipulation and Order approved by the Court on August 20, 2021,
27 Cox’s deadline to respond, move or otherwise plead to the Complaint was extended to September

28

                                                       1
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 1 20, 2021.

 2          4.     Pursuant to the Stipulation and Order approved by the Court on September 15,
 3 2021, Cox’s deadline to respond, move or otherwise plead to the Complaint was extended to

 4 October 8, 2021.

 5          5.     Pursuant to the Stipulation and Order approved by the Court on October 7, 2021,
 6 Cox’s deadline to respond, move or otherwise plead to the Complaint was extended to October 29,

 7 2021.

 8          6.     Plaintiff and Defendant have agreed that Cox shall have an additional extension up
 9 to and including November 8, 2021, to respond, move or otherwise plead to the Complaint to

10 provide Cox with additional time to continue its investigation and review its records pertaining to

11 the allegations in the Complaint.

12          7.     This is the fourth stipulation between Plaintiff and Cox to extend the time for Cox
13 to respond, move or otherwise plead to the Complaint and it is not being entered into for purposes

14 of any delay.

15   Dated: October 27th 2021.                          Dated: October 27th 2021.
16   DICKINSON WRIGHT PLLC                              KRIEGER LAW GROUP, LLC
17
      /s/:Michael N. Feder                              /s/:Shawn Miller
18   Michael N. Feder (NV Bar No. 7332)                 David Krieger (NV Bar No. 9086)
     Gabriel A. Blumberg (NV Bar No. 12332)             Shawn Miller (NV Bar No. 7825)
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     Email: mfeder@dickinson-wright.com                 Email: smiller@kriegerlawgroup.com
22   Email: gblumberg@dickinson-wright.com

23   Attorneys for Defendant                            Attorneys for Plaintiff Leticia Rodriguez
     Cox Communications
24

25                                               ***
                                                ORDER
26
   IT IS SO ORDERED.
27 DATED: ____________________,
               October 28       2021                      ___________________________________
                                                          UNITED STATES MAGISTRATE JUDGE
28

                                                    2
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 1                                   CERTIFICATE OF SERVICE
 2          The undersigned, an employee of Dickinson Wright PLLC, hereby certifies that on the 27th
 3
     day of October, 2021, a copy of STIPULATION AND [PROPOSED] ORDER EXTENDING
 4
     TIME FOR COX COMMUNICATIONS TO RESPOND TO PLAINTIFF’S COMPLAINT
 5
     FOR DAMAGES PURSUANT TO THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §
 6
     1681 ET SEQ., (FOURTH REQUEST) was served electronically to all parties of interest through
 7 the Court's CM/ECF system as follows:

 8

 9          DAVID KRIEGER
10          SHAWN MILLER
            KRIEGER LAW GROUP, LLC
11          2850 W. Horizon Ridge Parkway, Suite 200
            Henderson, Nevada 89052
12          Tel: (702) 848-3855
            Email: dkrieger@kriegerlawgroup.com
13
            Email: smiller@kriegerlawgroup.com
14

15          Attorneys for Plaintiff Leticia Rodriguez

16

17                                                          /s/: Dianne Kelling
                                                            An Employee of Dickinson Wright PLLC
18

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